Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    1 of17ofPageID
                                                                  Page       7     #: 5599
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    2 of27ofPageID
                                                                  Page       7     #: 5600
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    3 of37ofPageID
                                                                  Page       7     #: 5601
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    4 of47ofPageID
                                                                  Page       7     #: 5602
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    5 of57ofPageID
                                                                  Page       7     #: 5603
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    6 of67ofPageID
                                                                  Page       7     #: 5604
Case 1:18-cr-00204-NGG-VMS    Document
            Case 1:18-mj-00164-DJS     534-1 15
                                   Document   Filed 04/12/19
                                                  Filed        Page
                                                        04/11/18    7 of77ofPageID
                                                                  Page       7     #: 5605
